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                           UNITED STATES DISTRICT COURT
   9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       ALIREZA SHIRAZI and LARISSA          ) CASE NO. 2:21-cv-07746-RGK-GJS
  12   KARASSEVA, individuals (husband and )
       wife),                               ) [PROPOSED] ORDER
  13                                        ) REMANDING THE ACTION
                         Plaintiffs,        )
  14                                        )
                                            ) Action Filed:   July 2, 2021
  15                v.                      ) Action Removed: September 29, 2021
                                            ) Trial Date:     None Set
  16                                        )
       TRAVELERS PROPERTY CASUALTY )
  17   INSURANCE COMPANY, a Connecticut)
       corporation; ASHLEY McCARTNEY, an )
  18   individual; LINDA AKESSON, an        )
       individual; and DOES 1-20            )
  19                                        )
                                Defendants. )
  20                                        )
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  23         The Court, having read and considered the Joint Stipulation To Remand,
  24   Withdraw Rule 12(b) Motions (Doc. No. 19), and Agreement Between Parties as to
  25   Moving Forward Following Remand, by and between Plaintiffs Alireza Shirazi and
  26   Larissa Karasseva (“Plaintiffs”) and Defendants Travelers Property Casualty
  27   Insurance Company (“Travelers”), Ashley McCartney (“McCartney”) and Linda
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                             [PROPOSED] ORDER REMANDING THE ACTION
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   1   Akesson (“Akesson”) (collectively “Defendants”) (hereinafter Plaintiffs and
   2   Defendants are referred to as “Parties”), finds as follows:
   3         IT IS HEREBY ORDERED that the action is remanded to the Superior
   4   Court of the State of California, County of Los Angeles. In light of the remand,
   5   defendants McCartney’s and Akesson’s motion to dismiss the third cause of action
   6   (Doc. No. 19) is hereby mooted. The Parties are to bear their own costs and fees in
   7   connection with the removal and remand.
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  10   Dated: November 30, 2021                      By:
                                                            Hon. R. Gary Klausner
  11                                                        United States District Court
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                               [PROPOSED] ORDER REMANDING THE ACTION
Case 2:21-cv-07746-RGK-GJS Document 26 Filed 11/30/21 Page 3 of 4 Page ID #:488
               Alireza Shirazi, et al. v. Travelers Property Casualty Insurance Company, et al.
                             USDC-CACD, Case No. 2:21-cv-07746-RGK-GJS

   1                                    PROOF OF SERVICE
   2    I, Felicia Ball, declare:
   3           I am employed in the County of Los Angeles, state of California. I am over
   4    the age of 18 and not a party to the within action; my business address is 1960
   5    East Grand Avenue, Suite 400, El Segundo, California 90245.
   6           On November 23, 2021, I served a copy of the following document:
   7           [PROPOSED] ORDER REMANDING THE ACTION
   8           By electronically filing the foregoing document with the Clerk of the United
   9    States District Court, Central District of California, using its ECF system, which
  10    electronically notifies the persons on the attached service list at the email
  11    addresses registered with the ECF System.
  12           I declare under the laws of the United States of America that the foregoing
  13    information contained in the Proof of Service is true and correct.
  14           I declare that I am employed in the office of a member of the bar of this
  15    court at whose direction the service was made.
  16           Executed on November 23, 2021 at Inglewood, California.
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  18                                                        )HOLFLD %DOO
                                                           FELICIA BALL
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                                           PROOF OF SERVICE
Case 2:21-cv-07746-RGK-GJS Document 26 Filed 11/30/21 Page 4 of 4 Page ID #:489
               Alireza Shirazi, et al. v. Travelers Property Casualty Insurance Company, et al.
                             USDC-CACD, Case No. 2:21-cv-07746-RGK-GJS

   1                                        SERVICE LIST
   2    Keith J. Turner                                     Attorneys for Plaintiffs,
        Justin Escano
   3    TURNER LAW FIRM APC                                      Alireza Shirazi; and,
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   4    Santa Monica, California 90405
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   5    Facsimile: (310) 882-5563
        E-mail:      kjt@turnerlawapc.com
   6                 je@turnerlawapc.com
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                                           PROOF OF SERVICE
